           Case 2:21-mj-00141-SRW Document 8 Filed 12/01/21 Page 1 of 2




                 IN THE DISTRICT COURT OF THE UNITED STATES
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

UNITED STATES OF AMERICA                  )
                                          )
      v.                                  )      CASE NO.: 2:21-MJ-141-SRW
                                          )
XIAOQIN YAN                               )

                              NOTICE OF APPEARANCE

      COMES NOW the undersigned counsel, Sandi Y. Irwin, and enters her appearance as

counsel for XIAOQIN YAN, in the above-styled matter.

      Dated this 1st day of December, 2021.

                                          Respectfully submitted,

                                          s/ Sandi Y. Irwin
                                          SANDI Y. IRWIN
                                          Bar No.: CA292946
                                          Federal Defenders
                                          Middle District of Alabama
                                          817 South Court Street
                                          Montgomery, AL 36104
                                          TEL: (334) 834-2099
                                          FAX: (334) 834-0353
                                          E-Mail: Sandi_Irwin@fd.org
            Case 2:21-mj-00141-SRW Document 8 Filed 12/01/21 Page 2 of 2




                  IN THE DISTRICT COURT OF THE UNITED STATES
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

UNITED STATES OF AMERICA                     )
                                             )
       v.                                    )      CASE NO.: 2:21-MJ-141-SRW
                                             )
XIAOQIN YAN                                  )

                                CERTIFICATE OF SERVICE

       I hereby certify that on December 1, 2021, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which will send notification of such filing to all

counsel of record.


                                             Respectfully submitted,

                                             s/ Sandi Y. Irwin
                                             SANDI Y. IRWIN
                                             Bar No.: CA292946
                                             Federal Defenders
                                             Middle District of Alabama
                                             817 South Court Street
                                             Montgomery, AL 36104
                                             TEL: (334) 834-2099
                                             FAX: (334) 834-0353
                                             E-Mail: Sandi_Irwin@fd.org
